Case 17-13713-JDW      Doc 35    Filed 09/23/22 Entered 09/23/22 11:05:32                 Desc Main
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____________________________________________________________________________
                                                SO ORDERED,




                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________


              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

CATHY S. ELLINGBURG                                                              17-13713-JDW

        AGREED ORDER GRANTING MOTION TO DISMISS (DKT. #31)

       THIS MATTER came before the Court on the Motion to Dismiss (Dkt. #31)

(the “Motion”) filed by Locke D. Barkley, Chapter 13 Trustee (the “Trustee”),

and the response thereto filed by the Debtor (Dkt. #32). Upon agreement of the

parties,

       IT IS ORDERED that:

       1.     The Motion shall be and is hereby granted.

       2.     This case shall be and is hereby dismissed.

                                 ##END OF ORDER##

AGREED & APPROVED:

/s/ W. Jeffrey Collier
W. JEFFREY COLLIER– MSB#10645                                       Prepared by:
ATTORNEY FOR TRUSTEE                                                W. Jeffrey Collier, Esq.
                                                                    Attorney for Trustee
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